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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

------------------------------------- X
DEMOCRATIC NATIONAL COMMITTEE,

                Plaintiff,                         Civil Action No. 1: l 8-cv-03501 (JGK)

        V.

THE RUSSIAN FEDERATION et al.,                                     USDC SONY
                                                                   DOCUMENT
                Defendants.                                        ELECTRONICALLY FILED
------------------------------------- X                            DOC# _ _ _ _..,....,+-/rt-r-=,-----
                                                                   DATE FILED: ~ 'ef(~ l_'Z.__
                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that, upon the accompanying Declaration of Julia Horwitz,

including all the exhibits appended thereto, and upon the accompanying Motion to Serve

Defendant WikiLeaks by Twitter and Mail, Plaintiff will move this Court at the United States

Courthouse for the Southern District of New York, 500 Pearl Street, Courtroom 14A, New York,

NY 10007, before the Honorable John G. Koehl, United States District Judge, for an Order

granting Plaintiff leave to serve Defendant WikiLeaks via Twitter and first class mail to its

domestic P.O. Box.


Dated: July 20, 2018                                Respectfully submitted,


                                                    Isl Joseph M. Sellers
Michael Eisenkraft (#6974)
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                                  CERTIFICATE OF SERVICE


         I hereby certify that on July 20, 2018, I electronically filed the Motion to Serve

Defendant WikiLeaks by Twitter and Mail with the Clerk of the Court using ECF, which in tum

sent notice to all counsel of record.




Dated:     July 20, 2018                               Isl Jihoon Lee
                                                       Jihoon Lee




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